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10
                       UNITED STATES DISTRICT COURT
11
                      CENTRAL DISTRICT OF CALIFORNIA
12
13
       Interworks Unlimited, Inc., a California )    Case No. 2:17-cv-4983 AB TJH KSx)
14     corporation,                             )
15                                              )    EVIDENTIARY OBJECTIONS TO
16
                     Plaintiff,                 )    EXHIBITS 4, 5 AND 6 OF
             v.                                 )    DEFENDANT’S OPPOSITION TO
17                                              )    PLAINTIFF’S MOTION FOR
18     Digital Gadgets, LLC., a New Jersey      )    SUMMARY JUDGMENT
       limited liability company,               )    [FRCP 56(c)(2)]
19                                              )
20                          Defendant.          )    Date:      January 7, 2019
       ________________________________ )            Time:      UNDER SUBMISSION
21
                                                )    Courtroom: 9B
22     Digital Gadgets, LLC., a New Jersey      )
23     limited liability company,               )
                                                )
24                          Counterclaimant,    )
25                    v.                        )
                                                )
26     Interworks Unlimited, Inc., a California )
27     corporation,                             )
28                                              )
                            Counter-defendant )

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 1            Pursuant to FRCP 56(c)(2), Plaintiff Interworks Unlimited, Inc. (“Plaintiff”)
 2     hereby objects to the documents attached as Exhibits 4, 5 and 6 to Defendant
 3     Digital Gadget (“Defendant”)’s Opposition to Motion for Summary Judgment.
 4     The basis for the objections is that the Defendant did not lay proper foundation,
 5     those documents constitute hearsay and/or are inadmissible under FRCP 37
 6     because they were not previously disclosed to the Plaintiff.
 7                                                    I.
 8     DEFENDANT FAILED TO LAY PROPER FOUNDATION FOR EXHIBITS
 9                                             4, 5 AND 6
10            Under FRCP 901(a) “[t]o satisfy the requirement of authenticating or
11     identifying an item of evidence, the proponent must produce evidence sufficient to
12     support a finding that the item is what the proponent claims it is.” This can include
13     “Testimony that an item is what it is claimed to be” FRCP 901(b)(1)
14            Here, Exhibits 4-6 are inadmissible because the Defendant did not lay proper
15     foundation. All that is set forth is a declaration from Defendant’s lawyer that these
16     documents were “produced in discovery in this case” [see Paragraphs 5-7 of
17     Declaration of Harlan Lazarus in Support of Opposition to Summary Judgment] Such
18     evidence is insufficient to authentic these three exhibits. There were no statements as to
19     when, where and from whom the Defendant obtained these documents. They were not
20     produced by the Plaintiff (see Declaration of Joseph M. Liu) and, if they were produced
21     pursuant to a subpoena, there was no evidence showing any sort of authentication from
22     the producing party or its custodian of records. Thus, the Plaintiff objects to Exhibits 4-6
23     based on a failure to lay proper foundation.
24                                                    II.
25                   EXHIBITS 4, 5 AND 6 ARE INADMISSIBLE HEARSAY
26            Pursuant to FRCP 801(c), “Hearsay” means a statement that: (1) the declarant
27     does not make while testifying at the current trial or hearing; and (2) a party offers in
28     evidence to prove the truth of the matter asserted in the statement.” Under FRCP 802


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 1     “Hearsay is not admissible unless any of the following provides otherwise: a federal
 2     statute; these rules; or other rules prescribed by the Supreme Court.”
 3            Exhibits 4, 5 and 6 are hearsay because the Defendant is trying to prove the
 4     truthfulness of the statements stated in those documents. Because the Defendant failed to
 5     show how these hearsay documents fall under any of the hearsay exceptions, they are
 6     inadmissible to support Defendant’s opposition. Therefore, the Plaintiff further objects to
 7     Exhibits 4-6 on the ground of hearsay.
 8
 9                                                 III.
10     EXHIBITS 4, 5 AND 6 WERE NOT PREVIOUSLY PRODUCED AND ARE
11                               EXCLUDED UNDER FRCP 37.
12            Under FRCP 37(c), "[i]f a party fails to provide information or identify a
13     witness as required by Rule 26(a) or (e), the party is not allowed to use that
14     information or witness to supply evidence on a motion, at a hearing, or at a trial,
15     unless the failure was substantially justified or is harmless." [emphasis added]
16     Under FRCP 26(a), a party needs to provide "(ii) a copy-or a description by
17     category and location-of all documents, electronically stored information, and
18     tangible things that the disclosing party has in its possession, custody, or control
19     and may use to support its claims or defenses, unless the use would be solely for
20     impeachment." FRCP 26(a)(1)(A)(ii) [emphasis added] And this duty is an
21     ongoing duty. Under FRCP 26(e)(1), A party who has made a disclosure under
22     Rule 26(a)-or who has responded to an interrogatory, request for production, or
23     request for admission-must supplement or correct its disclosure or response:
24     (A) in a timely manner if the party learns that in some material respect the
25     disclosure or response is incomplete or incorrect, and if the additional or corrective
26     information has not otherwise been made known to the other parties during the
27     discovery process or in writing; or (B) as ordered by the court." [emphasis added]
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 1           In this case, one of the Defendant's affirmative defenses was that the
 2     Plaintiff lacked standing. During discovery, the Plaintiff also asked the Defendant
 3     to produce all documents to support its defenses (see Declaration of Joseph M.
 4     Liu). The documents attached as exhibits attached as Exhibits 4, 5 and 6, were
 5     never produced during initial disclosures or discovery. Moreover the Defendant
 6     never supplemented its disclosures or discovery responses. Even if these three
 7     documents were obtained after initial disclosures or by subpoena during discovery,
 8     the Defendant has a continuing duty to supplement its responses. Pursuant to the
 9     Court’s Order, the deadline for non-expert discovery was October 19, 2018. The
10     Defendant cannot now cure its failure by supplementing its disclosures or
11     discovery responses. Therefore, Plaintiff objects to Exhibits 4-6 under FRCP 37,
12     and the Defendant is barred from using those documents to support its opposition.
13
14     Date: December 26, 2018                       By: /s/ Joseph M. Liu, Esq.        .
                                                         Joseph M. Liu, Esq.
15                                                       Attorneys for Plaintiff/Counter
16                                                       Defendant Interworks
                                                         Unlimited, Inc.
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